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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Richmond Division

In re:                                                   Case No.: 21-33693-KRH
NORDIC AVIATION CAPITAL                                  Chapter 11
DESIGNATED ACTIVITY COMPANY, et al.
                Debtors.                                 (Joint Administration Pending)

                       NOTICE OF APPEARANCE OF COUNSEL FOR
                              UNITED STATES TRUSTEE

To the Clerk of the Court:

        PLEASE TAKE NOTICE that pursuant to Federal Bankruptcy Rules 2002 and 9010, the

undersigned hereby appears in the above captioned matter on behalf of the United States Trustee

for Region Four, and demands that all notices, motions, etc., given or required to be given in this

case, and that all papers, etc., served in this case, be given to and served upon the following:

                              Office of the United States Trustee
                                Attn: Nicholas S. Herron, Esq.
                               701 E. Broad Street, Suite 4304
                                  Richmond, Virginia 23219
                        Attorney Email: Nicholas.S.Herron@usdoj.gov
 U.S. Trustee Email for Richmond Division ECF Service: USTPRegion04.RH.ECF@usdoj.gov

Dated: December 20, 2021                                JOHN P. FITZGERALD III
                                                        Acting United States Trustee for Region 4

                                                        By: /s/ Nicholas S. Herron
                                                        Nicholas S. Herron, Trial Attorney
                                                        Office of United States Trustee
                                                        701 E. Broad Street, Suite 4304
                                                        Richmond, VA 23219
                                                        (804) 771-2310
                                                        Nicholas.S.Herron@usdoj.gov
Kathryn R. Montgomery, AUST, VSB No. 42380
Shannon F. Pecoraro, Trial Attorney, VSB No. 46864
Jason B. Shorter, Trial Attorney, VSB No. 80929
Nicholas S. Herron, Esq., NJSB No. 03007-2008, PASB No. 208988
Office of the United States Trustee
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Richmond, VA 23219
Phone (804) 771-2310
Fax: (804) 771-2330
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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on December 20, 2021, I caused this Notice to be filed.
Service shall be made electronically by the Court’s CM/ECF system.

                                                /s/ Nicholas S. Herron
